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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

        v.                                           Criminal Action No. 1:21-cr-0451 (CJN)

SUZANNE IANNI,

                Defendant.


                                             ORDER

         This matter is before the Court on Defendant Suzanne Ianni’s Motion to Dismiss for

Selective Prosecution, ECF No. 35. For the reasons discussed below, the Court denies her Motion.

         Ianni faces three federal misdemeanor charges stemming from the events of January 6,

2021:    entering and remaining in a restricted building or grounds, 18 U.S.C. § 1752(a)(1);

disorderly and disruptive conduct in a restricted building or grounds, 18 U.S.C. § 1752(a)(2); and

disorderly conduct in a Capitol Building, 40 U.S.C. § 5104(e)(2)(D).              See Superseding

Information, ECF No. 37. Ianni is not alleged to have engaged in violent conduct, and she argues

that she is the victim of selective prosecution. In particular, she points to the Department of

Justice’s charging decisions (or lack thereof) for nonviolent protestors at the Capitol for what she

describes as left-leaning protests and argues that she is being discriminated against because of her

political views.

         The Executive Branch has “broad discretion” in “enforc[ing] the Nation’s criminal laws.”

United States v. Armstrong, 517 U.S. 456, 465 (1996) (quotation omitted); see United States v.

Fokker Servs. B.V., 818 F.3d 733, 741 (D.C. Cir. 2016). But that discretion has its limits. The

Fifth Amendment prohibits the federal government from pursuing criminal charges that amounts

to a “‘practical denial’ of equal protection of law.” Armstrong, 517 U.S. at 465 (quoting Yick Wo


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v. Hopkins, 118 U.S. 356, 373 (1886)). “A selective-prosecution claim is not a defense on the

merits to the criminal charge itself, but an independent assertion that the prosecutor has brought

the charge for reasons forbidden by the Constitution.” Id. at 463.

       A “presumption of regularity supports . . . prosecutorial decisions” such that, absent “clear

evidence to the contrary, courts presume that [prosecutors] have properly discharged their official

duties.” Armstrong, 417 U.S. at 464; see also Fokker Servs., 818 F.3d at 741 (“[J]udicial authority

is . . . at its most limited when reviewing the Executive’s . . . charging determinations” because

“the Judiciary . . . generally is not competent to undertake that sort of inquiry.” (quotation marks

omitted)). To succeed on her claim of selective prosecution, Ianni must therefore make two

showings, each by clear evidence: that the prosecution (1) had a “discriminatory effect” and (2)

arose from “discriminatory intent.” Armstrong, 517 U.S. at 465; see also Wayte v. U.S., 470 U.S.

598, 608 (1985); Att’y Gen. of U.S. v. Irish People, Inc., 684 F.2d 928, 932 (D.C. Cir. 1982).

Discriminatory effect is shown when the defendant or class of defendants was “singled out for

prosecution from among others similarly situated.” Branch Ministries v. Rossoti, 211 F.3d 137,

144 (D.C. Cir. 2000). And discriminatory intent requires proof that a prosecution was improperly

motivated, such as based on race, religion, or another arbitrary classification. Id.

       For the effect element, Ianni points to a number of “politically liberal” protests at the

Capitol in which demonstrators were charged with non-federal violations and were typically given

an opportunity to pay a small fine to resolve their matters immediately without a finding of guilt.

See Def. Mot. at 3–5, ECF No. 35. For example, in 2017, 181 people were arrested in relation to

a disability rights protest in a Senate Finance Committee room. In 2018, 575 people were arrested

in the atrium of the Hart Senate Office Building for conduct relating to a protest of immigration

policies. Also in 2018, over 200 people were arrested in the Capitol building protesting the




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hearings for the confirmation of Justice Kavanaugh—and some broke through and climbed over

police barricades meant to close off certain parts of the Capitol. In 2019, a number of climate

change protesters were repeatedly arrested (sometimes weekly) for demonstrations at the Capitol.

And in July 2021, nine voting rights protestors, including a member of the U.S. House of

Representatives, were arrested for demonstrating in the Hart Senate Office Building even though

it was closed to the public.

       Ianni asserts—and the government does not contest—that none of these demonstrators was

charged with a federal offense. Instead, Ianni contends, many were prosecuted for D.C. Code

violations and were given a light fine or spent a night or two in jail. Id. at 3–5. 1

       The government does not dispute the facts regarding those prior prosecutions, but instead

argues Ianni is not “similarly situated” to any of them. See United States v. Lewis, 517 F.3d 20,

27 (1st Cir. 2008) (“A similarly situated offender is one outside the protected class who has

committed roughly the same crime under roughly the same circumstances but against whom the

law has not been enforced.”). The government argues that those prior protestors had lawfully

entered the U.S. Capitol or, as to those who broke through certain police barriers, they

demonstrated outside the Capitol buildings. The government contends that Ianni’s examples “did

not target a proceeding prescribed by the Constitution and established to ensure a peaceful

transition of power.” Gov’t Opp. at 5, ECF No. 36 (quoting United States v. Miller, 1:21-cr-119

(D.D.C. Dec. 21, 2021) (ECF No. 67), slip op. at 3). And the government notes that while Ianni

is only charged with nonviolent conduct, other “January 6 rioters attacked the Capitol in broad




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  Indeed, Ianni contends, the “politically liberal” voting-rights protestors of 2021 were invited to
a meeting with Vice President Harris, who praised their conduct. Def. Mot. at 3, 5.


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daylight with hundreds of legislators and thousands of congressional staffers present.” Id.

(quotation marks and alterations omitted).

       The Court agrees with the government that there are “distinguishable legitimate

prosecutorial factors that might justify making different prosecutorial decisions” as to Ianni than

as to those she argues are similarly situated. Branch Ministries, 211 F.3d at 145; see also United

States v. Miller, 1:21-cr-119 (D.D.C. Dec. 21, 2021) (ECF No. 67). The particular combination

of circumstances at issue here—including entering the Capitol while it was closed to the public;

being among a very large demonstration; being among a crowd in which others were aggressive

or violent (some shockingly so); and targeting a highly sensitive Congressional proceeding—are

too different from any example or combination of examples that Ianni has pointed to for a claim

of selective prosecution. To be sure, there are aspects of Ianni’s conduct that may be similar to,

or perhaps less problematic than, the conduct in certain of the examples to which Ianni points. See

Pl. Mot. at 1–2, 6–7. But when put in context of the events of January 6, 2021, her conduct is not

sufficiently similar to the examples to which she points for her to meet the rigorous standard for

proving discriminatory effect. See Irish People, 684 F.2d at 946 (“Discrimination cannot exist in

a vacuum; it can only be found in the unequal treatment of people in similar circumstances.”); see

also United States v. Judd, No. 1:21-cr-40 (D.D.C. Dec. 28, 2021) (ECF No. 203), slip op. 11

(concluding that because of the “uniqueness” of the events of January 6, courts may find it difficult

to fault the government’s prosecution).

       Given the foregoing, the Court need not reach the discriminatory intent element.




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      Accordingly, it is

      ORDERED that the Motion to Dismiss is DENIED.



DATE: April 6, 2022
                                                  CARL J. NICHOLS
                                                  United States District Judge




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